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                                                                                                         ,I
                                                                                                         ,I.
                                                                                                         11:

                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                                                                                                                                  •


CHRISTOPHER M. WELCH, (INDIVIDUl\LLY         & ON BEHALF OF ALL OTHERS SIMILARLY SITUATED)

               PLAINTIFF,

                V.                                 CLASS ACTION-CIVIL COMPLAINT

COUNTY OF BURLINGTON;
COUNTY COMMISSIONER-
MS. FELICIA HOPSON;
C.F.G. HEALTH SYSTEMS LLC;
CEO-CFG HEALTH SYSTEMS LLC-
MR. LES PASCHALL;
HEALTH SERVICES ADMINISTRATOR-                     JURY TRIAL DEMAND-PLAINTIFF
MS. DORIS YAA;
NURSE PRACTITIONER CONNIE;
NURSE JANE DOE(S)l THROUGH 3;
                                                                     /   ·)            -• .. ,-..---..        I
WARDEN MATTHEW LEITH;                                                                                    ·1-... ,...._
CAPTAIN T. BLANGO;                                                                                                       -·--~.
CAPTAIN INMAN;                                     CIVIL#
LIEUTENANT P. BLANGO;
LIEUTENANT N. PTASZENSKI;
 LIEUTENANT R. CLUGSTEN;
 SERGEANT M. PEER;
 SERGEANT J. WILLIAMS;
 CORRECTIONAL OFFICERS-
 JANE & JOHN DOE(S)l THROUGH 10;
 COUNTY EMPLOYEES-
 JANE & JOHN DOE(S)l THROUGH 10;
                DEFENDANT(S).


                                   I. JURISDICITION     &   VENUE

 1. This action is brought under Title 42 U.S.C.                              §   1983 to redress
 the deprivation,         under color of state law,                 of rights secur~d by
 the    Constitution          of    the   United    States,     and           New    Jersey              State
 Constitution. The Court has jurisdiction under Title 28 U.S.C.                                                   §§

 1331    &   1343 (a) (3).     The Court has Supplemental jurisdiction ,over
 Plaintiff's          state    law     claims   under       Title        28       U.S.C.        §        1367.


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Plaintiff seeks Declaratory relief pursuant to Title 28 U.S.C. 1§§
2201      &       2202.   Plaintiff's            claims   for         InJ·unctive          relief        are
                                                                                                  - I
authorized by Title 28 U.S.C. §§ 2283 & 2284, and Rule ES of the
Federal Rules of Civil Procedure.


2. The District of New Jersey is an appropriate venue under Ti:tle
28 U.S.C. § 139l(b) (2) because·it is where the events giving rtse
to these claims occurred.

                                                                                                         1:
                                             II. PARTIES
                                                                                                        .:1
3.     Plaintiff,         Christopher        M.    Welch,    is        and    was     at    all     tJJ es
                                                                                                         ::1
mentioned herein               a    Pre-Trial Detainee at              the Burlington County
                                                                                                           I


Detention Center,               located at: P.O. Box 6000,                   54 Grant St., Mount
Holly, New Jersey 08060 with Inmate ID# 115254.


4. Defendant, County of Burlington, is the County where Burlington
                                                              ,,,

County Detention Center is located,                       and the County of Burlington
is     the        one   who    has      overall    control       of    the    Burlington          County
Detention           Center         through   its    County       Commissioners.             County: of
Burlington is located at: 49 Rancocas Rd., Mount Holly, New Jersey
08060.

                                                                                                    •    ,I
 5.    Defendant,             County     Commissioner-Ms.       an    Felicia       Hopson,         1s    1




                                                              '
 employee for the County of Burlington where the Burlington County
                                                              I


 Detention          Center         is   located,    and     is    the        County    Commissioner
 Director. County Commissioners have overall control of the County
 of Burlington, and of the Burlington County Detention Center., She
 is located at: 49 Rancocas Rd., Mount Holly, New Jersey 08060~


 6. Defendant, C.F.G. Health Systems LLC, is the medical contractor
                                                                                                         '
 for      Burlington County              Detention Center,             and    is    the     company            in
 charge       of all          the    Staff   &    Inmates/Pre-Trial            Detainees          medical

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needs.    C.F.G.     Health Systems LLC reports back to the County: of
                                                                                      I  '
Burlington,        and    County Commissioner-Ms.            Felicia   Hopson.   C.F'j"G.
Health Systems LLC is located at: 765 Rt. 70-East, Building A-1"00,
Marlton, New Jersey 08053.

                                                                                      I
7.   Defendant, CEO-C. F. G. Heal th Systems LLC-Mr. Les Paschall,' is
                                                                                      ,,'
the Chief Executive Officer for C.F.G. Health Systems LLC. H~ is
in complete control of C. F. G. Health Systems LLC.                    He reports black
                                                                                     ,,I
to C. F. G.      Heal th Systems LLC,            County of Burlington,      and Coirty
Commissioner-Ms.           Felicia Hopson.         He is located at:      765 Rt. 170-
                                                                                     ,

East, Building A-100, Marlton, New Jersey 08053.

                                                                                    :I
8. Defendant, Health Services Administrator-Ms. Doris Yaa, is ,the
Health         Services    Administrator         at   Burlington   County    Detent:ion
                                                                                    111
Center, and is an employee of C.F.G. Health Systems LLC. She i~ in
complete control of all Staff; Inmates; and-or Pre-Trial Detai1ees
medical needs at Burlington County Detention Center. She rep~rts
back to C.F.G. Health Systems LLC, CEO-C.F.G. Health Systems7Mr.
                                                             ,,
Les Paschall, the County of Burlington, and County Commissiotier-
                                                                                      1
Ms. Felicia Hopson. She is located at: 54 Grant St., Mount Ho1ly,
                                                                                      I

New Jersey 08060.


9. Defendant, Nurse Practitioner Connie, is the Nurse Practitioner
at Burlington County Detention Center, and is an employee of C.F.G.
Health     Systems        LLC.   She   is   in    complete   control    of all   Staff;
Inmates;        and-or Pre-Trial Detainees medical needs at Burlington
County Detention Center. She reports back to C.F.G. Health Systems
                                                                                     I

LLC,     CEO-C.F.G.       Health Systems-Mr. Les Paschall,             Health Services
                                                                                     I

Administrator-Ms. Doris Yaa, the County of Burlington, and Co(!nty
Commissioner-Ms. Felicia Hopson. She is located at: 54 Grant St.,
Mount Holly, New Jersey 08060.


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                      '
10.    Defendant(s),        Nurse Jane Does 1 through 3,                  are Nurse(s)              at
Burlington County Detention Center,                  and they are employee(s)                       of
C. F. G.   Heal th Systems LLC.         They are in complete control of all                     I



Inmates;        and-or Pre-Trial Detainees medical needs at Burlington
                                                               I
County Detention Center. They report back to C.F.G. Health Systems
                                                                                            ,I
LLC,    CEO-C.F.G. Health Systems-Mr. Les Paschall,                       Health Serv~ces
                                                                                                '
Administrator-Ms. Doris Yaa, Nurse Practitioner Connie the County
of Burlington,            and County Commissioner-Ms.             Felicia Hopson.          They
are located at: 54 Grant St., Mount Holly, New Jersey 08060. i

                                                                                           !I
11.    Defendant, Warden Matthew Leith,                is currently the Warden at
Burlington County Detention Center.                   He     is    in    complete       control
overall staff        &    Inmates/Pre-Trial Detainees at Burlington County
Detention Center. He reports back to the County of Burlington, and
County Commissioner-Ms. Felicia Hopson. He is located at: 54 Grant
St., Mount Holly, New Jersey 08060.


12. Defendant, Captain T. Blanga, is currently the Administrative
Captain at Burlington County Detention Center. He is in complete
control overall staff           &   Inmates/Pre-Trial Detainees at Burlington
County         Detention     Center.    He    reports      back     to     the    County' of
                                                                                           ,,
Burlington,         County Commissioner-Ms.           Felicia Hopson,             and
                                                                                            '
                                                                                         Warden
                                                                                           I
Matthew Leith. He is located at:                   54 Grant St., Mount Holly,                       New
Jersey 08060.


13. Defendant, Captain Inman, is currently a Captain at Burlington
County Detention Center. He is in complete control overall staff
&     Inmates/Pre-Trial         Detainees      at    Burlington          County    Detention
                                                                                           '




Center.        He   reports    back    to    the    County    of    Burlington,          County
Commissioner-Ms. Felicia Hopson, Warden Matthew Leith, and Captain
T. Blanga. He is located at: 54 Grant St., Mount Holly, New Jersey
08060.

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14.   Defendant,             Lieutenant      P.   Blango,          is   currently the         Internal
Affairs        Lieutenant          at    Burlington          County      Detention      Center,         and
***he is        the biol.ogical. brother of Captain T.                            Bl.ango l.istedi in
paragraph            12***    of     this   complaint.         He       is   in   complete     con~rol
overall staff           &    Inmates/Pre-Trial Detainees at Burlington coJnty
Detention Center.               He reports back to the County of Burling~on,
County C.ommissioner-Ms. Felicia Hopson, Warden Matthew Lei th, ·land
                                                                                                       I

Captain T.           Blanga.       He is located at:               54 Grant St., Mount Ho~ly,
                                                                                                  11,


New Jersey 08060.                                                                                 :i


15. Defendant, Lieutenant N. Ptaszenski, is currently the Inte ',nal
Affairs Lieutenant at Burlington County Detention Center. He iJ in
                                                                                                  'II
complete control overall staff                      &     Inmates/Pre-Trial Detainees, at
                                                                                                   'I
Burlington County Detention Center. He reports back to the County
of    Burlington,            County      Commissioner-Ms.               Felicia     Hopson,     Wa~den
Matthew Leith, and Captain T. Blango. He is located at:                                       54 GJant
                                                                                                  'I
St., Mount Holly, New Jersey 08060.                                                                '


16. Defendant, Lieutenant R. Clugsten,                              is currently a Lieutenant
at Burlington County Detention Center. He is in complete control
overall staff           &    Inmates/Pre-Trial Detainees at Burlington County
                                                                                                   '
Detention Center.               He      reports back to the County of Burlington,
                                                                                                   I
County         Commissioner-Ms.             Felicia     Hopson,          Warden     Matthew  Leith,
                                                                                                :
Captain         T.     Blango,        Lieutenant        P.     Blanga,        and    Lieutenant: N.
Ptaszenski. He is located at: 54 Grant St., Mount Holly, New Jersey
08060.

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17.    Defendant,            Sergeant       M.    Peer,       is
                                                     Sergeant; at   currently       a
                                                              '
Burlington County Detention Center. He is in complete control
                                                              I
overall staff & Inmates/Pre-Trial Detainees at Burlington County
Detention Center.               He reports back to the County of Burlington,
                                                                                                  I
                                                                                                  ,1

County         Commissioner-Ms.             Felicia     Hopson,          Warden     Matthew     Leith,

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Captain T. Blango, Lieutenant P. Blango, Lieutenant N. Ptaszenski,
and Lieutenant E. Hernandez. He is located at: 54 Grant St., Mount
Holly, New Jersey 08060.


18.   Defendant,               Sergeant J. Williams,           is currently a Sergean                                   at
Burlington County                  Detention Center.           He       is    in    complete        control
                                                                                                          II
overall staff              &     Inmates/Pre-Trial Detainees at Burlington County
Detention Center.                  He reports back to the County of Burlington,
County      Commissioner-Ms.                Felicia      Hopson,         Warden         Matthew         Leith,
Captain T. Blango, Lieutenant P. Blango, Lieutenant N. Ptaszenlki,
and Lieutenant ·R. Clugsten. He is located at: 54 Grant St., M!unt
Holly, New Jersey 08060.


                                                                                                           I
                                                                                                               '
19.    Defendant(s),               Correctional         Officer (s)           Jane      &    John       Does             1
through         10,        are    Correctional      Officer(s)               at    Burlington           cointy
                                                                                                          I

Detention         Center,           and    they   are    employee ( s)             of   the     County!                 of
Burlington. They are in complete control of all Inmates;                                                and-or
                                                                                                               .I
Pre-Trial Detainees while at Burlington County Detention Center.
They report back to the County of Burlington, County Commissior:ie·r-
Ms.    Felicia             Hopson,       Warden   Matthew      Lei th,            Captain      T.   Blar:igo,
Lieutenant            P.       Blango,    Lieutenant      N.    Ptaszenski,                 Lieutenant:, R.
Clugsten,         and Lieutenant E.               Hernandez.        They are located at:] 54
Grant St., Mount Holly, New Jersey 08060.                                                                       I

20. Defendant{s), County Employees Jane                             &    John Does 1 through'l0,
are County Employees at Burlington County Courthouse, and they are
employee ( s)          of the        County of Burlington.                   They are         in comp:).ete
control of all incoming & outgoing mail processing in the County
                                                                                                                    I
                                                                                                                    I
Courthouse. Thay report back to the County of Burlington,                                           &    County
                                                                                                                    I
                                                                                                                    I
Commissioner-Ms. Felicia Hopson. They are located at: 49 Rancocas
Rd., Mount Holly, New Jersey 08060.
                                                                                                                    I
                                                                                                                    '


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                                                                                                       I
21.    Each Defendant is sued Individually                        &    Officially, except for
                                                                                                          I
the Defendant(s) listed in Paragraph(s) 4;                             &    6 of this complairt,
                                                                                                       I

who    are      only    sued     in   their     Official          capacity.          At     all    tikes
                                                                                                       I
mentioned in this complaint each Defendant acted under the cd\Lor
of state law.


                                           III. FACTS
22.    This is a Putative Class action lawsuit with Three separilate
classes.        The     Classes       consist       of     the        'Medical' ,·        'Mold' '·  :and
                                                                                                     I
                                                                                                     I
'Overcrowding'           Classes,       and     are       seeking           Declaratory           Relief;
                                                                                                      I

Injunctive Relief,              along with Compensatory                    &   Punitive Damag~ (s)
for each individual class.
                                                                                                       i
                                                                                                      II

                                                                                                      i
23. The definition of the 'Medical Class' is defined as any In,ate
and-or       Pre-Trial         Detainee,      who     is/was          confined       in     Burliniton
County Detention Center from 02/21/2020 until the inceptio~, of
this     lawsuit,        who    needs/needed to            see    a        'Specialist'       whil~1 in
custody but            is/was    purposefully delayed/denied when                            it    isiwas
medically necessary, and who suffered some type of injury due to
the delayed/denied 'Specialist'.

                                                                                                       I
 24.   The definition of the               'Mold Class'           is defined as any Inmate
                                                                                      I


 and-or      Pre-Trial         Detainee,      who        is/was       confined       in      Burlin$ton
                                                                                                       I

 County Detention Center from 02/21/2020 until the inceptionI of
 this lawsuit, who was housed on a housing unit where 'Mold' isYwas
 located, and who suffered from some type of injury due to the mold.


 25. The definition of the 'Overcrowding Class'                                 is defined asl any
                                                                                                       I
 Inmate         and-or     Pre~Trial        Detainee,            who        is/was        confinedl           in
                                                                                                      11


 Burlington        County       Detention       Center       from          02/21/2020        until 'I the
 inception of this lawsuit, who is/was housed in a 3-man cell khat


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was designed for 2-men, and who suffered from some typ~ of injury
due to the overcrowding.


ALLEGATION(S) AS TO PLAINTIFF CHRISTOPHER M. WELCH:
                                                                                      ,,
26.   Plaintiff became a         Pre-Trial Detainee at      Burlington County
                                                                         ,I
Detention Center on 02/21/2020.              Plaintiff came from Cecil County
                                                                              .        IJ
Detention Center Maryland with at least (30) days' worth of seizure
                                                                                           I
medication, and medical clearance document(s), which the medical
department received & processed the 'hard copies'.


27.     During    the   course    of    plaintiff's        medical    treatment1 at
                                                                                           !

Burlington County Detention Center in the months of Februar,y                                           &

March    2020,    plaintiff   ran      out   of   his    life   sustaining  seilure
                                                                                I
medication       on   03/05/2020.      Then,      on    03/17/2020;   03/18/2020 &
03/19/2020 plaintiff did not receive his life sustaining seidure
medication.

                                                                                               I
                                                                                  •            11
28. On 03/20/2020 Plaintiff went into a grand mal epileptic seizure
in the gym area with Correctional Officer K.                     Carey present of
Burlington County Detention Center, from not receiving his seizure
medication. From 02/21/2020 to 03/17/2020 plaintiff filled outi(9)
                                                                                                    I

sick call slips explaining due to his disc herniation' s in l,his
                                                                                                    I

lumbar & cervical he was not able to walk up & down steps, wqich
he was being forced to do every single day by the Correctiqnal
Officer's, requested to see the Orthopedic Specialist, and advised
the medical staff of his sciatic nerve issues.


29. On 03/20/2020 plaintiff was sent to Virtua Memorial Hospi~al-
Mount Holly New Jersey. On 03/21/2020 while Correctional Off~cer
T. Mac'Ferren was working on D Unit as the unit Officer logged in
the Unit logbook, that the Nurse did not give plaintiff his seizure


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medication       at    evening        medication          time         because    the     medical
department needed to re-order it.

                                                                                                ,I
                                                                                                1
30.    From 03/21/2020 until             05/07/2020            (11)    more sick call s ,iLips
were submitted to the medical department through sick call sl:,li, ps,
                                                                                                IJ
with    no    response     to    no    sick       call ( s)    pertaining to        the       is'sues
                                                                                                 I
plaintiff has         raised about his              lumbar,         cervical herniation'. s                       &

sciatic nerve issue(s). Plaintiff was never given any response to
                                                                                                     I

his none of his complaints but plaintiff was ordered by the N0rse
Practitioner Connie a 'double mattress' on 05/02/2020.


31.    In April 2020,       Plaintiff         &    Other Inmates/Pre-Trial Detaihees
                                                                                                     ,I
requested to receive grievances to grieve issues· such as medical
issues,       mold     issues,        and     potential             retaliation    issues.i On
04/27/2020 Plaintiff submitted a Letter/Grievance with                                  (3)    other
Inmates/Pre-Trial          Detainees:         Wayne Mitchell;              John   Johnson, ,,', and
Augustus Carty.


32. On 04/28/2020 Plaintiff was escorted to the Medical                                  &    Mental
Health       Department.    Two weeks prior to                      04/28/2020 Lieutenant. R.
Clugsten told plaintiff that, "he could not be moved out of fell
105 on D Unit cause he (Lieutenant R. Clugsten) did not do moves."
                                                                                                          1
Plaintiff advised this Defendant that he has a rash developing all
                                                                                                          '
over    his    body,     and    that     plaintiff            was     having   severe     probJ'.ems
breathing from the mold located all over Cell 105 on D Unit.


33. On 04/28/2020 Correctional Officer S. Moore was working on D
                                                                                                          I

Unit.     Plaintiff explained to Correctional Officer S. Moore about
his    problem with        his    rash      all      over his
                                                          problem     body,    and his
                                                              '
breathing due to the mold in cell 105 on D Unit. Plaintiff showed
                                                                                                              I

Correctional Officer S. Moore the rash area(s), and the mold that
                                                            '
was located in Cell 105 on D Unit. Correctional Officer S. Mdore

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advised plaintiff that a                    supervisor would have to transfer his
cell.

                                                                                              :1


                                                                                              1
34.   On 04/28/2020 plaintiff showed Sergeant G.                              Donovan the          'ash
all over his body,              and the mold in Cell 105 on D Unit. Plaintiff
requested Sergeant G.                Donovan for a grievance in front of Inrate
                                                                                              ir
Augustus         Carty    ID#    11513 9.       This       grievance    was    never proviii:!ed.
Plaintiff was moved out of Cell 105 on D Unit after he was revilllwed
by the Mental Health             &   Medical Department. Plaintiff was movedlout
of Cell 105 on             D Unit to Cell 11 7 on D Unit by Lieutenantl R.
                                                                                                   ',I
Clugsten, the person who advised plaintiff two weeks' prior t~at,
"he doesn't do cell moves!"

                                                                                                   '

35. From 02/21/2020 to 05/07/2020 Plaintiff requested grievanci(s)
                                                                                                   ,,1

through          various    different               Lieutenant ( s)     &     Sergea~t ( s)         , 39)
                                                                                                       1
different times,           and was never given the requested grievance(,s).
                                                                                                       ',II,
On 05/06/2020 plaintiff requested Sergeant G. Donovan in front!' of
Inmate Jared Vance-Cell 115 on D Unit & Kevin Gray-Cell 116 on D
                                                                                                         I
                                                               I
Unit for a grievance. Plaintiff was never provided this grievance.
                                                                                                          1,




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36. On 05/07/2020 plaintiff wrote a letter by U.S. Mail to Warden
                            .  .
Matthew Leith & County Commissioner-Ms.  Fe l'icia
                                                .  Hopson. In t lh.is
correspondence, plaintiff advises both individuals that the S~aff
                                                                                                          ,,
at Burlington County Detention Center flagrantly disregards !the
 filing     of     grievances          &   appealing grievances.              Plaintiff advilses
                                                                                                               I
both     individuals            that       he   &    other    Inmates/Pre-Trial          Detainees
                                                                                                               I
 cannot     receive        grievances;              the   grievances    never      get   proces;sed
 properly when the.y do get retrieved;                            and-or there is never jany
 response(s)         to    the       grievance            given   to   the    Inmates/Pre-Tlial
 Detainees to appeal the grievances filed.




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37.    In the 05/07/2020            letter plaintiff advises the Defendant (s)
                                                                                           "I
Warden     Matthew      Lei th      &    County     Commissioner-Ms.         Felicia     Hdpson
about (5) separate incidents, in which plaintiff wanted them                              10 be
treated as grievances because plaintiff                      &   other Inmates/Pre-'.llrial
                                                                                            1
Detainees was requesting grievances but could not retrieve t ~m.


38. In Incident# 1 of the 05/07/2020 letter plaintiff request~' the
desired remedy,          "To see an Orthopedic Specialist about my lu,mbar
&     cervical   issues as well             as my sciatic nerve issues.                 For', the
medical      staff      to   get    reprimanded        for   neglecting their dutri.es.
Punitive damages for the pain                 &   suffering I experienced that ;tuld
have been prevented. Compensatory damages for the hospital bil~l."
                                                                                                I



                                                                                                \

39. In Incident# 2 of the 05/07/2020 letter plaintiff requestsl,, the
desired remedy,          "To be provided grievances.                 To be seen for             f        ick
call. For the medical staff to get reprimanded for neglecting tfeir
duties.      Punitive damages for the pain & suffering I                         experielced
that     could     have      been       prevented.     Compensa.tory      damages       as 'I th.e
facility sees fit. For the mold to be removed from all the housing
                                                                                                    1,

units."
                                                                                                     i
                                                                 I'
4 0.    In the 05/07/2020 letter Incident# 4 plaintiff stated in ,his
                                                                                                         I
grievance, "The facility all of its Lieutenant (s)                        &   Sergeant (s}, on
                                                                                                         I
both      squads     have     an        unwritten    policy/practice/          custom     and-or
 acquiesce       with     not    providing          Inmates/Pre-Tria2         Detainees             Jith
 formal     grievances,         and i f      they are provided grievances,                      those
 grievances can be filled out properly                   &   submitted properly but 'the
                                                                                                         ,I
 Inmate/Pre-Trial Detainee will never be given a response to t'hat
 grievance . .... 11

                                                                                                             :,l'


 41.    In Incident# 4 of the 05/07/2020 letter plaintiff reque~ ed
 the     desired     remedy        for    that    grievance,      "To   be     provided             Jl th
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grievances,              for the grievances to be properly submitted,                                   for' the
grievances to be properly investigated, and for an answer of',; the
grievance        with          a    copy of the            grievance           to be     supplied        to    i          the
                                                                                                              'I
                                                                                                                "
Inmate/Pre-Trial                    Detainee.           Punitive       damages          for     the     paifil                    &
                                                                                                               i
suffering            I     experienced                 that      could         have     been         preven'ted.
                                                                                                               I
Compensatory damages as the facility sees fit.                                         For this unwritten
practice/policy/custom and-or acquiesce regarding the grievtnce
procedure change."                                                                                                 "


42. On 05/16/2020 plaintiff wrote a letter by U.S. Mail to Walden
Matthew Lei th             &       County Commissioner-Ms.                 Felicia Hopson.              In this
correspondence, plaintiff advises both individuals that the Staff
                                                                                                                   I
                                                                                                                   ,1
at Burlington County Detention Center flagrantly disregards jthe
                                                                                                                    ',
filing ·of        grievances                 &     ppealing grievances.                Plaintiff advises
b ot h    . d'1v1. d ua 1 s
          in                        th a t       he    & o th er      I nmates /P re- T ria
                                                                                         · 1                ' 'I
                                                                                                      De t ainees
cannot      receive            grievances;              the   grievances          never       g_et    procelsed
properly when they do get retrieved;                                     and-or there is never 1any
                                                                                                                        ''I
response(s)               to       the   grievance            given       to     the    Inmates/Pre-Trial
Detainees to appeal the grievances filed.

                                                                                                                          I
                                                                                                                          I
43.      In the 05/16/2020 letter plaintiff describes two incidents.
                                                                                                                         •I
Incident# 1 of the 05/16/2020 plaintiff states, "I came here on
                                                                                                                          l
02/21/2020, and since I've been housed on I-Wing; B-Wing; and D-
Wing I       have noticed mold everywhere throughout                                      the facility_.                          I
spoke      to    a        Correctional                Officer,     and     the    Correctional           Officer
stated,         'There has been a mold issue here ever since I got here,
and that was over 8+ years ago."'
                                                                                                                              I
                                                                                                                              I
44.      Then,       in the          05/16/2020 letter plaintiff further                              stated: to
                                                                                                                           '
Incident#         1,       "Then,            the      Officer      goes    on     to    state        that,                'The
 facility just ignores the issue, and they are very well aware of
it!' I have broken out from skin rashes all over my body from the

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                                                                                                   l,1             d
mold, have issues with respiratory problems from the mold, an                                                              I
am wondering the long-term effects.                          Please clean all the mol·i6 up
                                                                                                   I
                                                                                                   I
in the facility?"


4 5.   In the letter of 05/16/2020 plaintiff requested the dei'red
                                                                                                   1
remedy       for    Incident#          1,    "To    clean    all       the mold up within              ,\          the
facility.        Punitive damages for the pain                     &   suffering I experie ced
                                                                                                         I
that     could          have    been    prevented.          Compensatory         damages      as                   the
facility sees fit."


46.     In    the       05/16/2020          letter       plaintiff      lists       Incident#      2                       as
                                                                                                20:t,0 &
                                                                                                            11


follows,         "Since the end of March 2020/beginning of April
until        present      the    facility          has    been     locking      Inmates/Pre- , ial
Detainees down with providing them onl.y 15 minutes of 'Rec' wil hin
a 24-hour period.               Inmates        &   Pre-Trial Detainees are not abl                                         to
                                                                                                             :11

attend law library, not able to take shower(s)                                  &    make 15-mihute
phone calls at the same time, and not able to clean cell's/housing
                                                                                                                 I
areas."


4 7.    Then       in    the    05/16/2020         letter plaintiff          further      stated to
                                                                                                                 j ell
Incident# 2, "I have a problem with my lumbar & cervical as                                                      W

as sciatic nerve issues, and keeping me housed in my cell all day
 (all but 15-minutes), is quite bothersome, not on.ly physically,but
 to my psyche as well.                      It at times causes me to be depresse'd                                             &
                                                                                                                   I

 fatigued.         Please allow more               'Rec' time during lockdowns ?"


 48. In the 05/16/2020 letter plaintiff requested the desired remedy
 for Incident# 2,              "To be provided more                'Rec' time. during lockdown                         '

                                                                                                                       I

 periods.        Punitive damages for the pain                     &    suffering I experienced
 that     could         have    been        prevented.       Compensatory           damages     as i the
 facility sees fit."



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                                                                            :1

49.   Plaintiff      never   received   any   responses   to   his   05/07/2020
                                                                            11I
letter/grievances listing (5) separate Incident(s) in there tp be
                                                                            '!I
treated as grievances, and plaintiff never received any respo~ses
                                                                             I

to that 05/07/2020 letter.         Plaintiff further never received 'II any
                                                                              '
responses to his 05/16/2020 letter/grievances listing (2) separate
Incident (s)      in there to be treated as grievances,          and plain\iff
never received any responses to that 05/16/2020 letter. Plain{iff
followed up with filing written grievances from the facilitJ on
all these        listed issues   stated herein but was         never given :, any
response to none of those complaints, as the grievance proces'                                     is
futile at Burlington County Detention Center.
                                                                                  i,

50.   On 05/20/2020 Captain T.          Blanga investigated the 04/27/ 020
Letter/Grievance       referenced in paragraph       31 of this      complall]nt;
                                                                                  !I
Captain Inman responded to said letter/grievance, and Lieute ant
P. Blango delivered the letter/grievance to plaintiff, which\was
subsequently denied. On 05/24/2020 there was a news article pri~ted
in the Burlington County Times by editor George Woolston 'County
                                                                                       I
inmate's families worry about covid-19'. The Correctional Offi!cer
                                                                                       I
                                                                                       I
referred to in paragraph 43 of this complaint stated further, "(he
Administration at Burlington County Detention Center would like to
                                                                                       I

catch editor George Woolston on the street to give him a piecJ of
                                                                                       I
their mind printing an article like that about the jail!"

                                                                                           '

51. On 06/10/2020@ 12:30 a.m. plaintiff handed Sergeant B. My~rs
                                                                                           I

a handwritten appeal to Inmate Grievance# IG-20-040 about the mold,
and about the medical not testing Inmates/Pre-Trial Detainee:(s)
                                                                                               I

 for Covid-19.      Sergeant B. Myers advised plaintiff that there was                         '

                                              •                                                I
                                                                                               I
no formal grievance appeal forms available at Burlington Coupty
 Detention Center, and that it had to be handwritten.




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52.   Plaintiff had a             meeting with defendant (s)                Lieutenant (s):                  P.
Blango     &     N.   Ptaszenski        on    06/16/2020      on G Dorm.       Plaintiff',,! was
                                                                                              I
advised that           ' i f they      (referring to the Lieutenant (s))                  think he
                                                                                              '
(referring to plaintiff)                 is going to file a lawsuit against,,\ the
facility, .and sue the County of Burlington then he (referring to
                                                                                              ,ii
plaintiff) will be transferred so fast to a jail that is extremely
                                                                                                  I
                                                                                                   I
dirtier & hard to get to the law library like Mercer or Camden
                                                                                                   I
Counties .. '     Both Lieutenant (s) further advised plaintiff that this
                                                                                                  1;1
jail was one of the cleanest jails to be in besides Salem County,
                                                                                                  '

and that plaintiff should make the best of it.                                                    'I


                                                                                                      I

53. Plaintiff the last week of May 2020 filed a Tort Claim Notice
with the Burlington County Solicitor's Office                          &   Burlington Co4nty
                                                                                                      'I
Risk Manager-Damon S. Burke at 49 Rancocas Rd., Mount Holly, New
Jersey     08060.          The Tort     Claim has never been               resolved,       and ,,the
                                                                                                        1,
Defendant (s)          made no attempt to resolve the Claim after sev ,, 'ral
                                                                                                        "
attempts to resolve it on plaintiff's behalf. In the Tort Claim,
plaintiff provided the letter/grievance's in which he wished to be
treated as formal grievances because he could not obtain formal
grievances.           Plaintiff        advised     in   the    Tort    Claim        the    medical
incidents; the mold incidents; the recreation incidents, and other
such complaints.


54. Plaintiff in May 2020 began to have issues with his Legal M'ail
being      opened          outside     of    his   presence     by    Defendant(s)           County
Employees Jane              &   John   Does    1 through 10;         Correctional Off ice rs
Jane & John Does 1 through 10; and Lieutenant(s)                               P.   Blango             &:'   N.
                                                                                                        ,1
 Ptaszenski           of    Burlington        County    Detention      Center.       The     stated
 reason was that the Legal Mail came opened from the law firm mar\ed
 legal mail,          and upon inspection a female Correctional Office~'s
 personal information was located.



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55. Plaintiff in June 2020 filed a grievance about his legal ,'mail
                                                                                                              'I
being opened outside of his presence,                                   and read.           This actio'r is
against the Inmate Handbook authored by Warden Matthew Lei~r on
06/01/2018,            against         New    Jersey Administrative                     Code          for   c unty
Correctional Facilities pertaining to legal mail, against th~ New
                                                                                                             1
Jersey      State            Constitution,              and       against         the       United          s~lates
                                                                                                                   I

Constitution.                                                                                                      I



56.    Since the May 2020 incident, plaintiff's legal mail has                                                                        een
getting opened outside of his presence; tampered with being                                                                           eld
for weeks         &   sent back to the sender; and plaintiff's legal
now    opened          in        the   presence         of    a   Supervisor            (Sergeant           ar:li::i-or




                                                                                                                       I
                                                                                                                       :11
Lieutenant-by order of Lieutenant (s)                               P.      Blango      &   N.       Ptaszenski)
                                                                                                                       :II
placed on a             'Body Worn           Camera'         so the legal mail can lateir be
reviewed via video capture.


57.    Plaintiff on 10/28/2020 was                            reviewing his electronic 1bgal
discovery that is on his thumb drive, that was forwarded to hil by
his attorney through legal mail.                              Correctional Officer C.                       Tolres
                                                                                                                             ;I

was present in the law library, and told plaintiff that he cluld
                                                                                                                              I
not     print         the        pictures        that    were      on       the   thumb          drive,     after
                                                                                                             '
P laintiff            had    already         sent    them to           the    printer.               Correcti6nal
                                                                                                                                  I
Officer          C.     Torres         advised       Sergeant          M.     Peer      & Lieutenantj E.
                                                                                                                                  I

Hernandez about the content(s) of the files on the thumb drive.
                                                                                                                                  I,

                                                                                                                                   '
                                                                                                                                   '
                                                                                                                                   I

58. On 10/28/2020 or sometime shortly thereafter Sergeant M. Beer
                                                                                                                                       '
                                                                                                 '                                     I
&     Lieutenant            E.    Hernandez         reviewed every single                    file       that ,was
                                                                                                                                       j
contained on the thumb drive, then turned over the thumb drive'I to
                                                                                                                                       I
Lieutenant(s)               P. Blango        &   N. Ptaszenski for them to inspect ~aid
                                                                                                                                       ,I
thumb drive. Lieutenant (s) P. Blango                              &    N. Ptaszenski reviewed ,'all
the file (s)            on the thumb drive,                   copied all the contents on ,the
 thumb drive, and then turned over a copy to the Burlington County
 Prosecutor's Office. Plaintiff was advised by Lieutenant P. Bl~l,hgo

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                                                                                                 '1




                                                                                                ,I
on 11/10/2020 while housed in Cell 106 on C-Wing that plain;,tiff
would be returned the thumb drive with all its contents inti~ct,
and     that    plaintiff         was     prohibited         from    printing          contra· and
                                                                                                 '

picture's from said thumb drive.


59. Plaintiff asserts that all the file(s)                          contained on the t umb
drive are pertaining to plaintiff's legal matters,                                    and all the
                                                                                                      I

files     are    consi,dered        legal      and     protected         under       WORK/PRobucT
                                                                                                      111!



PRIVILEGE. Lieutenant(s)                P. Blango & N.           Ptaszenski are actin~ as
agents for the Burlington County Prosecutor's Office,                                   supplLing
the State with plaintiff's trial strategies and interfering lith
this plaintiff's right to counsel in a                           criminal        &   civil matter
currently       pending ,in         State      &     Federal      Court,       along        with ,,the
Attorney/Client            Privilege          with     the       right      to       confidenlial
                                                                                             I


communication.


60.   Plaintiff wrote by In-House Mail                       &   U.S.    Mail several times
                                                                                                             I
Captain(s)       T.     Blango      &     Inman;      Warden      Matthew        Leith;        County
Solicitor-Mr.           Sander          D.     Friedman,          Esquire;            and      County
                                                                                                             I
                                                                                                             i
Commissioner-Ms.                Felicia       Hopson        about        the         issues               with
                                                                                                             "
Lieutenant(s)         P.    Blango        & N.      Ptaszenski       from      May     2020     uritil
present. The problems continue to persist with the legal maJl &
regular mail.                                                                                                    I
                                                                                                                 I




                                                                                                                 I
61.     The    County      of    Burlington;         County      Commissioner-Ms.             FeliJcia
Hopson; Warden Matthew Leith; and Captain(s)                             & T. Blanga & Inman
                                                                                                                 '.I·

have an unwritten practice/policy /custom/ and-or acquiesce ~i th
                                                                                                                     '
not properly supervising;                    and-or investigating its Correctid,nal
Officers        after      complaints         are    made    verbally;         through        wri J,ten
requests; and-or properly filed grievances.
                                                                                                                  r"

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                                                                                  '
                                                                                'I
62.    Plaintiff asserts that the County of Burlington,                   and Co0nty
Commissioner-Ms.          Felicia Hopson have a       long-standing histor~ of
19+ years         of civil      rights   violations consisting of the samE) or
similar         acts   listed    throughout   the   following   federal    cases,   in
Federal Court:
        1. Blade V. Burlington County Jail, Et Al.,
           Civil# 02-3976 (2002);

        2. Thompson V. Gogats, Et Al.,
           Civil# 05-3555(2005);
        3. Costa Jr. V. County of Burlington, Et Al.,
           Civil# 07-0904 (2007);

        4. Paulino V. Burlington County Jail, Et Al.,
           Civil# 07-5315(2007);

        5. Hass V. Burlington County, Et Al.,
           Civil# 08-1102(2008);

        6. Burns V. Warden Joel E. Cole, Et Al.,
           Civil# 08-4897(2008);

        7. Florence V. Board of Chosen Freeholders, Et Al.,
           595 F.Supp.2d 492 (2009);

        8. Singletary V. Burlington County Jail, Et Al.,
           Civil# 11-0392 (2011);

        9. Thomas V. Bird, Et Al.,
           Civil# 12-7476 (2012);

        10. Smart V. Board of Chosen Freeholders, Et Al.,
            Civil# 13-0354(2013);

        11. Roudabush V. Correctional Officer Pirelli, Et Al.,
            Civil# 14-1923 (2014);

        12. Rodriguez V. State of New Jersey, Et Al.,
            Civil# 14-3729 (2014);

        13. Kneisser V. Mcinerney, Et Al.,
            Civil# 15-7043 (2015);

        14. Turzanski V. County of Burlington, Et Al.,
            Civil# 15-8866 (2015);

        15. Jones V. Burlington Township, Et Al.,
            Civil# 17-1871 (2017);

       16. Taylor V. Burlington County Jail, Et Al.,                            I
           Civil# 18-0431 (2018)
                                                                                I

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 63. Plaintiff asserts that the C.F.G. Health Systems LLC, and CEO-
 C.F.G. Health Systems LLC-Mr. Les Paschall have a long-stariding
                                                               'I
 history of 16+ years of civil rights violations consisting ofl the
 same or similar acts listed throughout the following federal ~lses
 in Federal Court:
                                                                             I

         1. Tosado V. Borough of Spotswood, Et Al.,
            Civil# 05-5112 (2005);

         2. McErlean V. Weich, Et Al.,
            Civil# 07-5681(2007);

         3. McBride V. County of Atlantic, Et Al.,
            Civil# 10-2773 (2010);    .

         4. Smith V. Merline, Et Al.,
            719 F. Supp.2d 438 (2010);
                                                                             i

                                                                             I
        5. Mora V. United States, Et Al.,
                                                                             !
           Civil# 11-3321(2011);

        6. Arrington V. Middlesex County Jail, Et Al.,
           Civil# 13-1400(2013);

        7. Estate of Lewis V. Cumberland County, Et Al.,
           Civil# 16-3503 (2016);

        8. Estate of David Hennis V. Warden Robert Balicki, Et Al.,
           Civil# 16-4216 (2016);

        9. Estate of Watson V. Cumberland County, Et Al.,
           Civil# 16-6578 (2016);

        10. Estate of Conroy V. Cumberland County, Et Al.,
            Civil# 17-7183 (2017);

        11. Estate of Strouse V. Atlantic County, Et Al.,
            Civil# 17-5662 (2017);

        12. Estate of Sempreviva V. Atlantic County, Et Al.,
            Civil# 18-1953 (2018);

        13. Estate of Moore V. Roman, Et Al.,
            Civil# 18-6345 (2018)
                                                                                 I
63. Plaintiff has handwritten from April 2020 until February ~021
County      Commissioner-Ms.     Felicia    Hopson;      County               :I
                                                                  Solicitor--'Mr.
                                                              I
Sander D. Friedman, Esquire; Warden Matthew Leith; C.F.G. He~fth
Services LLC; CEO- C. F .G. Health Services LLC-Mr.
                                                    Les Paschai~l;
and C. F .G. Health Services LLC-Ms.
                                     Denise Rahaman about all ~he

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issues      raised       in    this    complaint.    There          was   never    any
response to any of the letters.

                                                                                                   '
64.    Plaintiff was            given    legal mail      on        01/04/2021     by ,Deferi,,i:!ant
                                                                                                   '




Sergeant J. Williams. The legal mail was already opened                                &   inspJi~ted·
outside of the plaintiff's presence. Plaintiff asked Sergeant J.
Williams why was the legal mail opened, and Sergeant J. Will~ams
responded, "I received the legal mail like that from Lieutenan1;t (s)
P. Blanga        &   N. Ptaszenski !" Plaintiff immediately filed a griev,~nce
                                                                                              '        ,1
about this incident,              and there was never any response g1ve9 to
                                                                                                       I'
that grievance as of this filing.                                                                      ,,
                                                                                                       I'
                                                                                                       I
                                                                                         I'
65. Defendant(s) Correctional Officers Jane                           &   John Does 1 thr©ugh
10; County Employees Jane                &   John Does 1 through 10; Sergeant (sl,\ M.
                                                                                                  "I
Peer    &   J.       Williams; and Lieutenant ( s)            P.    Blango   &    N.       Ptaszei;,ski
are    acting         in concert        with the    Burlington County              Prosecutdr' s
Office in opening; reading; and copying plaintiff's legal maJl
                                                            I
                                                                                                                         &
                                                                                                            '
regular mail both incoming & outgoing to & from the facility, that
                                                                                                            I
is privileged communication, and all these defendant(s) refuse to
stop with no lawful authority;                    no judicial warrant;                 against \New
                                                                                                            '1

Jersey Administrative Code; and against the Policies                               &       Procedqres
of Burlington County Detention Center.

                                                                                                                 '
                                                                                                                 '
66.    Defendants             County    of    Burlington;          County    Commissioner-jMs.
                                                                                                                 I

Felcia Hopson; Warden Matthew Leith; Captain(s) T. Blanga                                    &    Inman;
Lieutenant(s) P. Blango/ N. Ptaszenski/ & R. Clugsten after be;ing
                                                                                                                     '

aware of, and refusing to act on Inmate(s)/Pre-Trial Detaine1(s)
complaint (s)            (verbally       &    written)    demonstrate             an        unwritten
                                                                                                  I
                                                                                                       . I
pra6tice/policy/custom and-or acquiesce of ignoring civil rights
violations.




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67.   During       the    course            of    plaintiff's         pre-trial          detention        f'rom
02/21/2020 until present, there has been an overcrowding issue.:1 In
                                                                                                           'I
November 2020 until present, plaintiff has been housed on a flofr,
inches from a toilet,                   where cold weather causes condensation; to
                                                                                                           I
build causing puddles of water in the cell,                                   it is difficult lfor
plaintiff to get to                &    from the bed on the floor with plainti:E,~' s
lumbar      &   cervical issues as well as his sciatic nerve issues, :~11
while being housed inches from a toilet with urine splatterini on
his mattress when his cell mate(s) use the bathroom.


68.   Plaintiff was advised by Sergeant(s)                              & Lieutenant(s) on both
      d     th t    the       3-men         to     a     11               d·         ·            ·       {
::~:v:ble a issue,            and cannot b:e add::::::o:hirno:g:s::: ::ien:;;rc:

process at the facility.                         Sergeant ( s)   M.    Peer    &    J.    Williams        J!ere
                                                                                                  1
placing Inmate(s)              &    Pre-Trial Detainee(s)                 in a       3-man cell ,/(ith
plaintiff, as there were other housing units/cells available w:lth
                                                   . .
only 1 cell mate to a 2-man cell, out o f retaliation for the
                                                              'I
                                                                                                           ,,I
grievance's        plaintiff            filed          throughout      his     stay       at     Burlington
County Detention Center.                                                                                        I
                                                                                                                I




69. •lain•iff heacd ••••••William••••-•,,, 48300 on 01/29/.~21
at 9:30 a.m. ask Sergeant G. Donovan, "Isn't this 3-men to a c;ell
illegal         (referring             to     the      overcrowded        cell)?"              Sergeant         !   G.
Donovan's response was, "Yes it is but that's where We are at with
it right now (referring to Burlington County Detention Center),i!"


ALLEGATION(S) AS TO 'MEDICAL CLASS':
70.       Inmate(s)       &    Pre-Trial               Detainee(s)       of     Burlington            County
Detention        Center       from          02/21/2020        until    present           are    treated) by
C.F.G. Health Systems LLC at Burlington County Detention Centler
Health          Services           Administrator-Ms.                  Doris        Yaa;         and    Ni.ls:
Practitioner Connie.

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                                                                                                   I
                                                                                                   I
71. C.F.G. Health Systems LLC; CEO-C.F.G. Health Systems LLC,Mr.
Les       Paschall;      Heal th      Services Administrator-Ms.                 Doris      Yaa; ' and
Nurse Practitioner Connie have an unwritten practice/policy/cu'stom
and-or        acquiesce        with    not     providing treatment              by    'Speciali:kts'
                                                                                                   1




when it is medically necessary or purposely delaying treatmen                                      ~                       by
a     'Specialists' when it is medically necessary.


72. This delayed/denied treatment which is medically necessary is
                                                                                                       I

P urposefully           caused      by    C.F.G.        Health    Systems       LLC;       CEO-C.F.G.
                                                                                                       I
Health              Systems       LLC-Mr.        Les      Paschall;            Health        Services
Administrator-Ms. Doris Yaa; and Nurse Practitioner Connie hav~ an
unwritten practice/policy/custom and-or acquiesce with the purlose
of saving funds.


7 3.      Plaintiff ( s) - 'Medical            Class'     in   this     matter       are    suffe:rring
irreparable harm in various different physical forms. This har~ is
                                                                                                           I
being caused by the defendant(s) C.F.G. Health Systems LLC; CEO-
                                                                                                           '
C.F.G.         Health     Systems         LLC-Mr.       Les     Paschall;       Health       Services
Administrator-Ms.                 Doris Yaa;      and Nurse Practitioner Connie Jith
                                                                                                           'I
                                                                                                            I
reckless disregard for the plaintiff(s)-'medical class' necessary
                                                                                                               I

treatment.


ALLEGATION(S) AS TO 'MOLD CLASS':
74.        Inmate(s)          &   Pre-Trial       Detainee(s)           of    Burlington        coJnty
                                                                                                                   '
                                                                                                                   '
    Detention         Center       from      02/21/2020         until        present       housed                          at
    Burlington County Detention Center, and there is mold throug~out
                                                                                                                   "
    all     the       housing         units,      and      the        entire         facility              t'hat
                                                                                                                       i

    staff/inmate(s)/pre-trial detainee(s) are breathing in this mo'ld.
                                                                                                                       I
                                                                                                                       I
                                                                                                                       I
                                                                                                                   'I
    75. County of Burlington; County Commissioner-Ms. Felicia Hops,on;
    Warden Matthew Leith;                and Captain(s)          T.    Blango    &    Inman have,,\ an
    unwritten         practice/policy/custom                  and-or     acquiesce          with                       not

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                                                                                                     I
addressing the mold issue,                       thereby placing Staff /Inmate ( s) /Pre-
Trial Detainee(s) live(s) in danger by inhaling this mold.                                           :l:



                                                                                                     ,I


                                                                                                     '

7 6.   Plaintiff ( s) - 'Mold               Class'      in    this       matter    are        suffe:j ing
irreparable harm in various different physical forms includin,but
not limited to skin rashes(s)                      & severe respiratory problems. This
harm       is      being          caused    by    the      County    of       Burlington;        cohnty
Commissioner-Ms.                   Felicia       Hopson;     Warden       Matthew        Leith;           I and
                                                                                                          ",
Captain(s)          T.       Blanga    &    Inman either through there in-actiori or
                                                                                                           I
their refusal to act in order to have the mold treated                                    &    removed.


ALLEGATION(S) AS TO 'OVERCROWDING CLASS':
77.    Inmate (s)             &     Pre-Trial       Detainee (s)         of    Burlington         Cofunty
Detention           Center          from     02/21/2020        until          present     housedl at
Burlington County Detention Center in cell(s)that are designed
                                                           I
for two people but three people are being mandated to sleep in
those cell(s), with the third person sleeping on the floor, duJing
                                                                                                               I
the    course           of    a    public     heal th      crisis    &    global    pandemic               i.e.
                                                                                                               !

Coronavirus.
                                                                                                               I

                                                                                                               I

                                                             I
78. County of Burlington; County Commissioner-Ms. Felicia Hopson;                                                  I


Warden Matthew Leith;                      and Captain(s)       T.    Blanga & Inman hav~ an
unwritten           practice/policy/ custom                  and-or       acquiesce           with             ',I      not
addressing the                issue,       thereby placing Staff/Inmate (s) /Pre-T~ial
                                                                                                                   '1


 Detainee(s)             live(s)      in danger by refusing to follow the Center
 Disease Control guidelines by keeping 6 feet apart.
                                                                                                                        '
                                                                                                                        I


 79. Plaintiff(s)-'Overcrowding Class' in this matter are suffe~ing
 irreparable harm in various different physical forms by fording
 Inmate (s)         &    Pre-Trial Detainee (s)              to sleep on the floor indhes
 next to a toilet, and within inches from other Inmate(s)/Pre-T~ial
 Detainee(s) that are housed in the cell. This harm is being caJsed
                                                                                                                        11



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by     the    County        of    Burlington;           County          Commissioner-Ms.                  Fel:icia
                                                                                                               .I
Hopson;       Warden Matthew Leith;                 and Captain(s)                   T.   Blanga & Irman
with     reckless          disregard         for    Plaintiff(s)-'Overcrowding                             Class'
health & safety.                                                                                               'I
                                                                                                                I
                                                                                                                ,,
                                                                                                                :1


                            IV. EXHAUSTION OF LEGAL REMEDIES
80.      Plaintiff           Christopher           M.        Welch        requested                grievanci, (s)
throughout           his    entire         incarceration while                 at    Burlington co1nty
Detention Center to try,                     and resolve all                   issues.         Plaintiff :l was
never given grievances and-or when he was given grievance(s) ttose
grievance(s) was never properly filed with staff interfering with
that     process       and-or there was                 never          given    a    response to tnose
                                                                                                                 'I
                                                                                               ,                JI
properly filed grievance (s).                      Plaintiff throughout paragraph iii' 26
through        79     of    this       complaint            assert (s)         that       he       has    wri,ten
Letter/Grievance(s)                   to    resolve         the    problem(s)             listed          in         tthis
complaint. Plaintiff has not received response(s) to the majo1ity
of these Letter/Grievance(s) as well. Plaintiff asserts that even
when the grievance procedure is followed correctly, which it alJost
                                                                                                                      I

always is not,             the grievance procedure is futile,                              as Defendant's
refuse to correct violations herein.


                                            V. LEGAL CLAIMS                                                           II

81.      Plaintiff           re-allege(s)               &        incorporate(s)                by        reference
paragraphs l through 80 of this complaint.                                                                                I
                                                                                                                          I




 82.    COUNT 1:           1sT Amendment/U.S.               Constitution-Freedom of Spee:ch:
 Defendant(s) in paragraph(s) 4;5; 11 through 15; and 17 throug~ 20
 are    in     violation         of    this Amendment              by what           is    listed in                 this
 complaint in paragraph(s) 26 through 69.


 83.         COUNT     2:        1sT       Amendment/U.S.                Constitution-Retaliat;' n:
 Defendant(s)          in paragraph(s)              17       &    18    are     in    violation of                   ti1 is'k
                                                                                                                           II




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                                                                                                  ',,

 Amendment by what is listed in this complaint
                                                                               in paragraph ( s!i1)          26
 through 69.

                                                                                                  I
                                                                                                  ,I
                                                                                                  ,,
                                 th
 8 4.   COUNT         3:    4         Amendment/U. S.       Constitution-Unlawful           Searih           &
 Seizure: Defendant(s)                       in paragraph(s)         4;5; 11 through 15; ant 17
                                                                                                  1



 through 20 are in violation of this Amendment by what is listed in                                11




 this complaint in paragraph(s) 26 through 69.


 8 5.   COUNT         4:    6th Amendment/U. S.             Cons ti tut ion-Right      To Counsel:
 Defendant(s) in paragraph(s) 4;5; 11 through 15; and 17 through 20
                                                                                                   'I
 are    in      violation of                 this Amendment      by what      is   listed in this
 complaint in paragraph(s) 26 through 69.


86.       COUNT             5:         8th     Amendment/U.S.       Constitution-Delibefate
Indifference:               Defendant ( s)          in paragraph ( s) 4 through 20 are] in               '




violation of this Amendment by what is listed in this complaint in
paragraph(s) 26 through 79.
                                                                                                      I
                                                                                                      I
                                                                                                        I
87.     COUNT          6:         14 th      Amendment/U.S.      Constitution-Due           ProcJss:
                                                                                                         '
Defendant(s) in paragraph(s) 4 through 20 are in violation of ~his
                                                                                                        I
Amendment by what is listed in this complaint in paragraph (s)! 26
through 79.                                                                                           I
                                                                                                         I


88. COUNT 7: Article 1-Paragraph 6/New Jersey State Constitut~on-
Right to Freedom of Speech: Defendant(s)                               in paragraph(s)       4;5;: 11
through         15;    and        17      through    20   are   in    violation of this        St,ate    '



Constitution by what is listed in this complaint in paragraph! ( s)
26 through 69.                                                                                        I
                                                                                                   I
8 9. COUNT 8: Article 1-Paragraph 7 /New Jersey State Cons ti tut~lon-
Right to be Free from Unlawful Search                            &    Seizure: Defendant ( s ):,Iif in
                                                                I
paragraph(s) 4;5; 11 through 15; and 17 through 20 are in violati'on
                                                                                                  ;1

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                                                                                                 '
                                                                                                I

 of this State Constitution by what is listed in this
                                                                              comp l ai.   L,~ in.
 paragraph(s) 26 through 69.                                                               1i'
                                                                                            I
                                                                                            1
                                                                                            I
 90. COUNT 9: Article 1-Paragraph 10/New Jersey State Constitutlon-
 Right to Counsel: Defendant(s) in paragraph(s) 4;5; 11 throug~ 15;
 and 17 through 20 are in violation of this State Constitutio~ by
 what is listed in this complaint in paragraph(s) 26 through 69.
                                                                                                 '



 91.        COUNT       10:     Article       1-Paragraph      12/New     Jersey    State
 Constitution-Right to be                 Free   from Cruel                      .   I
                                                               &    Unusual   Punishm~nt:
Defendant(s) in paragraph(s) 4 through 20 are in violation of thisi



State Constitution by what is listed in
                                               thi .s comp l aintl
                                                              .   I in
                                                                    .
paragraph(s) 26 through 79.                                       I



 92.       COUNT        11:     Article       1-Paragraph
                                          18/New    Jersey  State
Constitution-Right to Grievance: Defendant(s) in paragraph ( si)
                                                                 4
through 20 are in violation of this State Constitution by what is                                '
                                                                                                 '

                                                                                                 '
listed in this complaint in paragraph(s) 26 through 69.                                          '




                                                                                                 '
                                                                                                 '

93.       COUNT                                                                                 I'
                    12:       Title   §59:2-10/New      Jersey      Statues    Annotated-
Intentional         &     Emotional    Duress:     Defendant ( s)                               I'
                                               in paragraph ( s) 4
                                                                                                 '
through 20 are in violation of this New Jersey Statue by what is
listed in this complaint in paragraph(s) 26 through 79.


94. COUNT 13: Title §2C: 12-2/New Jersey Statues Annotated-Reckl,ess
Endangerment:           Defendant ( s)     in paragraph ( s)       4 through 20 are: in
violation of this New Jersey Statue by what                          is listed in this
complaint in paragraph(s) 26 through 79.


95. COUNT 14: Title §2A: 62A-9/New Jersey Statues Annotated-Gr:bss
Negligence:         Defendant ( s)       in   paragraph ( s)   4    through· 20     are Ii in
                                                                                            Ii

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violation of this New Jersey Statue by what is listed in 'this
complaint in paragraph(s) 26 through 79.

                                                                                        I
96.    COUNT    15:    Title    §2A: 15-5. 1/New     Jersey       Statues       Annota!ted-
                                                                                        1

Negligence:        Defendant ( s)   in     paragraph ( s)     4   through       20   arJ                             in
                                                                                        i
violation of this New Jersey Statue by what is listed in :\'this
complaint in paragraph(s) 26 through 79.                                                    1


                                                                                            I


                                                                                        I
97. Plaintiff has no plain, adequate or complete remedy at la'k to
                                                                                            '
                                                                                            I
redress the wrongs described herein.                 Plaintiff(s)           have been1 and
                                                                                                I'

will continue to be irreparably injured by the                          conduct of', the
                                                                                                !

defendant(s)          unless    this       Court   grant's        the   Declarator~                                   &
                                                                                                 '
Injunctive Relief which plaintiff(s) in this matter seek.


                               VI. PRAYER FOR RELIEF
WHEREFORE, Plaintiff(s) respectfully pray that this Court enter
                                                                                                     I
judgement granting plaintiff(s):                                                                     I
                                                                                                     I

                                                                                                     I


98. A declaration that the act(s) and omissions described heiein
                                                                                                         I

violated       plaintiff's      &   plaintiff(s)        class      rights       under :the
Constitution of the            United States,       laws     of the         United Statles,
                                                                                                         I
Constitution of the State of New Jersey, and laws of the Stat~ of
New Jersey.


99.     (a)    A    Preliminary        &    Permanent   Injunction            against                        ihe
                                                                                                             I

Defendant(s) in paragraph(s) 4;5; 11 through 15; and 17 through 20
of this complaint as to Plaintiff-Christopher M. Welch to refJain
from opening; copying; and inspecting his outgoing                      &   incoming Le gal                      1

                                                                                                                 I
                                                                                                                 I
Mail    &   Regular Mail.                                                                                        I
                                                                                                                 '

        (b)    A    Preliminary        &    Permanent       Injunction        against                            'the
                                                                                                                 j
Defendant(s): C.F.G. Health Systems LLC; CEO-C.F.G. Health Syst~ms
LLC-Mr. Les Paschall; Health Services Administrator-Ms. Doris

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                                                                                                   ,,
and Nurse Practitioner Connie in this complaint as to Plaint1iff-
Christopher M.          Welch        &     Plaintiff (s)- 'Medical              Class'
from     delaying/denying                treatment        by   a        'Specialist'
medically necessary.

         (c)    A     Preliminary            &     Permanent            Injunction       against            the
Defendant (s) in paragraph (s) 4; 5; 11 through 19 of this compl:~int
as to Plaintiff-Christopher M. Welch                               &                        I
                                                                       Plaintiff(s)-'Mold Class'
to     clean    all    housing           unit ( s) / cell ( s)         inside Burlington cohnty
                                                                                                        I
Detention Center where mold is located.
                                                                                                        I

        (d)     A     Preliminary            &     Permanent            Injunction       agaiqst        !   the
Defendant(s) in paragraph(s) 4; 5; 11 through 19 of this complkint
                                                                                                        I
                                                                                             I
as to Plaintiff-Christopher M. Welch                           &       Plaintiff(s)-'Overcrowding
                                                                                                   ,I
Class' to refrain from housing 3-men to a cell designed for 2~men
in Burlington County Detention Center.                                                              ,I
                                                                                                     I
                                                                                                        I
                                                                                                        I

                                                              'I
100. Compensatory Damages in the amount of $50,000.00 against each
                                                                                                    I



Defendant, jointly & severally, except as to Defendant(s) listed
in paragraph(s)         4   &   6 of this complaint.

                                                                                                        I
                                                                                                        I

101.    Punitive Damages             in the amount of $50,000.00 against each
                                                                                                        I




Defendant, except as to Defendant(s) listed in paragraph(s) 41 & 6
                                                                                                    ,I
of this complaint.                                                                                  I
                                                                                                        I




102.    A Jury Trial            on   all         issues    triable         by   jury;    demanded by
                                                                                                        I




                                                                                                        I




Plaintiff-Christopher M. Welch.


103. Plaintiff's cost in this suit.


104.    Any additional           relief           this    Court         deems   just,    proper,· and
equitable.




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                                               Respectfully Submitted:.
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                                                ?1/;i.~aM~~lll, ~
Date:    01,/Q?, I       Jo'.'J-d              Mr. Christ~h ~ Welch        I
            >        I
                                               ID# 115254        I
                                               P.O. Box 6000, 54 Grant St.!
                                               Mount Holly, New Jersey 08060




                                                                                 I
                                       VERIFICATION
                                                                                 I   I
        I HAVE READ THE FOREGOING COMPLAINT AND HEREBY VERIFY TrAT
THE MATTERS ALLEGED THEREIN ARE TRUE, EXCEPT AS TO MATTERS ALLE~ED
ON INFORMATION           &   BELIEF,   AND AS TO THOSE,   I   BELIEVE THEM Toji BE
TRUE.    I      CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING. IS
TRUE & CORRECT.                                                                 ,
                                                                                11

                                                                                11,
        Executed' at:         Burlington County Detention Center,        P.O.   ~ox
6000, 54 Grant St., Mount Holly, New Jersey 08 0 60 on this                ?, rq
day of _..,_VY1'----"l.~"-'--'"-'--'------, 2 0 21.




                                               Respectfully Submitted:               I



                                                ?lkJ. ~JA,llJ.ukM
                                               Mr. Christopher M. Welch




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